UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



SARAH RANSOME,

               Plaintiff,                                   No. 17-Civ-00616 (JGK)

v.

JEFFREY EPSTEIN, GHISLAINE
MAXWELL, SARAH KELLEN, LESLEY
GROFF and NATALYA MALYSHEV,

               Defendants.


                            NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff, Sarah Ransome, pursuant to Federal Rule of Civil Procedure 41 (a)(1), hereby

files this Notice of Voluntary Dismissal of her claims against Defendant Natalya Malyshev.

Defendant Malyshev has not filed an answer nor made any appearance in this matter. On

December 20, 2018, Plaintiff and Defendants Jeffrey Epstein, Ghislaine Maxwell, Sarah Kellen

and Leslie Groff filed a Stipulation of Dismissal with Prejudice. Accordingly, Plaintiff Ransome

hereby provides her Notice of Voluntary Dismissal as to Defendant Natalya Malyshev pursuant

to Federal Rule of Civil Procedure 41(a)(1).

DATED: December 20, 2018                       BOIES SCHILLER FLEXNER LLP
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                                               By: /Sigrid S. McCawley
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